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       UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF TEXAS


              IOU Central, Inc.
                                                 §
                 Plaintiff                       §
                                                 §
                                                 §
                    v.                           §                     Case No. 4:21-cv-00144-Y
                                                 §
        Premier Paving GP, Inc. et al            §
                                                 §
                Defendants                       §


  MOTION FOR EXTENSION OF TIME FOR DEFENDANTS
      TO RESPOND TO PLAINTIFF’S COMPLAINT


      COMES NOW Defendants, by and through its counsel, and move the Court for an

extension of time within which Defendants may file its response to the Complaint through

March 24, 2021. Plaintiff, through counsel, does not object to this request.

       The additional time will allow the undersigned to obtain documents and otherwise speak

with Defendants about the allegations in the Complaint.

     WHEREFORE, this Court should grant an extension of time for Defendants to respond to

this Complaint through March 24, 2021.

Certificate of Conference

I have conferred with counsel for Plaintiff and he has stated that he does not oppose this request.




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Dated this 7th day of March 2021.
                             Respectfully submitted,

                                    By: /s/ Shimshon Wexler (pro ha vice application pending)
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